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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

HAMED SUFYAN OTHMAN                        )
ALMAQRAMI., et al.,                        )
on behalf of themselves and all            )
others similarly situated,                 )     Civil Action No. 1:17-cv-01533-TSC
                                           )
              Plaintiffs/Petitioners,      )
v.                                         )
                                           )
MICHAEL R. POMPEO, et al.,                 )
           Defendants/Respondents.         )

                             MEMORANDUM IN OPPOSITION
                               TO MOTION TO DISMISS

 Samer E. Khalaf                               Matthew E. Price (DC Bar #996158)
 Abed A. Ayoub                                 Noah B. Bokat-Lindell (DC Bar #156032)
 Iman Boukadoum                                JENNER & BLOCK LLP
 AMERICAN-ARAB ANTI-DISCRIMINATION             1099 New York Ave. N.W., Suite 900
 COMMITTEE                                     Washington, DC 20001
 1705 DeSales St. N.W., Suite 500              (202) 639-6000
 Washington, DC 20036                          mprice@jenner.com
 (202) 244-2990                                nbokat-lindell@jenner.com
 Skhalaf@adc.org
                                               Omar C. Jadwat
 Max Wolson (DC Bar #229562)                   AMERICAN CIVIL LIBERTIES UNION
 NATIONAL IMMIGRATION LAW CENTER               FOUNDATION
 P.O. Box 34573                                125 Broad St., 18th Floor
 Washington, DC 20043                          New York, NY 10004
 (202) 216-0261                                (212) 549-2600
 wolson@nilc.org                               ojadwat@aclu.org

 Arthur B. Spitzer (D.C. Bar No. 235960)       Cody H. Wofsy
 AMERICAN CIVIL LIBERTIES UNION                Spencer Amdur
 OF THE DISTRICT OF COLUMBIA                   AMERICAN CIVIL LIBERTIES UNION
 915 15th St. N.W., 2nd Floor                  FOUNDATION
 Washington, DC 20005                          39 Drumm St.
 (202) 601-4266                                San Francisco, CA 94111
 aspitzer@acludc.org                           (415) 343-0770
                                               cwofsy@aclu.org
                                               samdur@aclu.org
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                                         INTRODUCTION

       Plaintiffs challenge a State Department policy that suspended the processing of diversity

visas for all foreign nationals who were subject to an executive order that barred the entry of people

from certain countries. To the extent this policy is now “defunct,” as Defendants contend, Dkt. 81-

1 (“Mot.”) at 23, that just “removes an obstacle to [Plaintiffs’] ability to obtain an order instructing

the government to process their applications and issue them visas.” Almaqrami v. Pompeo, 933

F.3d 774, 783 (D.C. Cir. 2019). But to the extent Defendants still rely on the policy to defend

suspending the processing of Plaintiffs’ visas, the policy is unlawful. As this Court held in

September 2017, a policy not to process certain visa applications must be based on a ground

authorized by statute. An executive order barring entry is not an authorized ground for refusing to

process visa applications. The statutory authority under which the executive order here was issued,

8 U.S.C. § 1182(f), allows only bars on entry; it does not affect visa eligibility, which is governed

by other provisions. The Supreme Court decision relied on by Defendants, Trump v. Hawaii, in

fact just underscores the distinction between entry and visa eligibility. Moreover, the executive

order itself spoke only of a bar on entry; it did not purport to instruct Defendants to deny visas.

       Defendants’ policy is thus unauthorized by law, and Defendants’ invocation of that illegal

policy to refuse to process Plaintiffs’ visa applications violated a clear duty spelled out by the

Immigration and Nationality Act (“INA”) and its implementing regulations. To be sure, if granted

visas, Plaintiffs could not use them to enter the United States while the entry bar is in effect. But

Section 1182(f) by its terms contemplates a temporary bar on entry, and if Plaintiffs were issued

visas, they could use them to enter the United States if they were to receive waivers from the entry

bar or if the bar were lifted while the visas remained valid—typically a six-month period.

       Seeking to avoid a decision on the merits, Defendants try to erect three additional barriers

to relief. All are easily surmounted, and the Court has already rejected them.

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       First, for the reasons already given in this Court’s September 2017 opinion, the end of

Fiscal Year 2017 is no impediment to reaching the merits here. By ordering Defendants before the

end of the Fiscal Year to reserve visa numbers for Plaintiffs, the Court ensured it had the equitable

power to force Defendants to process their visa applications even after the Fiscal Year ended.

Indeed, that was the entire point of the Court’s prior order. Second, this Court has already ruled

that consular nonreviewability does not apply in this case. Plaintiffs are challenging a State

Department policy, and, once that policy is set aside, simply asking that their visas be processed.

Defendants do not engage with the grounds for this Court’s prior holding or offer any persuasive

reason to revisit it. Third, Defendants’ arguments that Plaintiffs lack causes of action under the

Administrative Procedure Act and the Mandamus Act misunderstand the statutory standards and

misapply them to this case.

       In sum, Defendants’ policy of refusing to process Plaintiffs’ visa applications on their

merits contravenes the INA and breaches a clear duty owed to Plaintiffs.

                     FACTUAL AND PROCEDURAL BACKGROUND

       A.      The Diversity Visa Program.

       Congress created the diversity visa program in 1990 to promote immigration from

countries with low rates of immigration to the United States. See Immigration Act of 1990, Pub.

L. No. 101-649, § 131, 104 Stat. 4978, 5000 (codified as amended at 8 U.S.C. § 1153(c)). The

statute sets a target of 50,000 diversity immigrants per fiscal year. See 8 U.S.C. § 1151(e). To

implement the program, the Secretary of Homeland Security first identifies countries and regions

with low rates of immigration and applies a statutory formula to allocate available visas among

those places. See 8 U.S.C. § 1153(c)(1)(E); 22 C.F.R. § 42.33(a). The State Department then

conducts a lottery to select a small number of individuals from each place who may submit

applications for the available visas. See 22 C.F.R. § 42.33(c). The number of lottery-entrants makes

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the process intensely competitive. For Fiscal Year 2017, more than 19 million people entered the

lottery, and 83,910 of them were selected to apply for visas—a success rate of one-half of one

percent. See U.S. Dep’t of State, Visa Bulletin for July 2016 (June 8, 2016), https://travel.state.gov/

content/travel/en/legal/visa-law0/visa-bulletin/2016/visa-bulletin-for-july-2016.html.

       Once selected, lottery winners must finalize their applications, be interviewed by a consular

official, and complete other procedural steps. See 8 U.S.C. § 1202(b); 22 C.F.R. §§ 42.33(g),

42.61-.67. By statute and regulation, the government must then issue visas to applicants who

satisfy the relevant statutory criteria. See 8 U.S.C. § 1153(c)(1); 22 C.F.R § 42.81(a) (2017)

(“When a visa application has been properly completed and executed . . . , the consular officer

must issue the visa, [or] refuse the visa[.]”); 22 C.F.R. § 40.6 (“A visa can be refused only upon a

ground specifically set out in the law or implementing regulations.”). Eligible lottery winners

whose cases are processed by the end of the fiscal year (September 30) thus receive visas that

allow them to immigrate and become lawful permanent residents. 8 U.S.C. § 1154(a)(1)(I)(ii)(II)

(specifying that lottery-winners are “eligible to receive” diversity visas “only through the end of

the specific fiscal year for which they were selected”); 22 C.F.R. § 42.33(a)(1). Once a visa is

issued, it is generally valid for up to six months. See 8 U.S.C. § 1201(c)(1).

       During the period between the lottery drawing and the end of the fiscal year, the State

Department closely manages the worldwide application process in order to ensure that

approximately 50,000 actual diversity visas are issued. See Dkt. 47-2 (“Oppenheimer Decl.”) ¶¶ 4-

7. The Department uses “visa numbers”—abstract placeholders for potential visas—for this

purpose. Id. ¶¶ 4-5; see 22 C.F.R. § 42.33(f). Each of these “numbers” represents, in effect, a

license for a consular post to go forward with processing one application. Defendants issue many

more than 50,000 visa numbers per year, because they expect a significant fraction to go unused



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for a variety of reasons. By monitoring and regulating the distribution of visa numbers to consular

posts, Defendants attempt to ensure that any deviation from the 50,000 target is relatively slight.

However, government statistics from recent years, see Dkt. 45, at 4, reflect that as few as 34,463

and as many as 54,115 diversity visas have been issued in a Fiscal Year:

                  Fiscal Year                                   Visa Numbers Used
                     2016                                             46,718
                     2015                                             49,377
                     2014                                             52,342
                     2013                                             52,571
                     2012                                             34,463
                     2011                                             51,118
                     2010                                             51,312
                     2009                                             48,036
                     2008                                             46,633
                     2007                                             40,076
                     2006                                             46,145
                     2005                                             48,151
                     2004                                             48,044
                     2003                                             50,810
                     2002                                             43,368
                     2001                                             45,450
                     2000                                             47,715
                     1999                                             54,115
                     1998                                             51,565


       B.      The Entry Suspension.

       On March 6, 2017, President Trump issued Executive Order 13,780, “Protecting the Nation

From Foreign Terrorist Entry Into the United States” (“EO-2”). 82 Fed. Reg. 13,209 (Mar. 6,

2017). Relying on his authority to “suspend the entry of … any class of aliens,” 8 U.S.C. § 1182(f),

the President suspended “entry into the United States” by nationals of six countries—Iran, Libya,

Somalia, Sudan, Syria, and Yemen—while the government undertook a ninety-day review. EO-2,

§ 2(c), 82 Fed. Reg. at 13,213. In keeping with the President’s statutory authority under § 1182(f),

the order did not purport to impose any limit on the processing or issuance of visas.


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       C.      The Challenged Policy.

       On June 28, 2017, shortly before the entry suspension became effective, the Secretary of

State issued a cable to all consular posts purporting to “implement[]” EO-2, and announcing the

policy challenged here. The cable purported to be “implementing” EO-2. In fact, however, the

cable converted EO-2’s bar on entry into a suspension of the processing and issuing of visas—

casting aside “the basic distinction between admissibility determinations and visa issuance that

runs throughout the INA.” Trump v. Hawaii, 138 S. Ct. 2392, 2414 (2018) (“Hawaii II”); see id.

at 2414 n.4 (noting that the “concepts of entry and admission . . . are used interchangeably in the

INA,” but that “issuance of a visa” is distinct).

       Specifically, with respect to diversity visas, the cable instructs as follows:

            8. (SBU) For Diversity Visa (DV) applicants already scheduled for interviews
            falling after the E.O. implementation date of 8:00 p.m. EDT June 29, 2017, post
            should interview the applicants. Posts should interview applicants following
            these procedures:

             a.) Officers should first determine whether the applicant is eligible for the DV,
             without regard to the E.O. If the applicant is not eligible, the application
             should be refused according to standard procedures.

             b.) If an applicant is found otherwise eligible, the consular officer will need
             to determine during the interview whether the applicant is exempt from the
             E.O.’s suspension of entry provision (see paragraphs 10-13), and if not,
             whether the applicant qualifies for a waiver (paragraphs 14 and 15).

             c.) DV applicants who are not exempt from the E.O.’s suspension of entry
             provision and who do not qualify for a waiver should be refused 221(g) and
             the consular officer should request an advisory opinion from VO/L/A
             following     current     guidance       in      9     FAM        304.3-1.

             Based on the Department’s experience with the DV program, we anticipate
             that very few DV applicants are likely to be exempt from the E.O.’s
             suspension of entry or to qualify for a waiver. [Consular Affairs] will notify
             DV applicants from the affected nationalities with scheduled interviews of the
             additional criteria to allow the potential applicants to determine whether they
             wish to pursue their application.



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             9. (SBU) The Kentucky Consular Center (KCC) will continue to schedule
             additional DV-2017 appointments for cases in which the principal applicant is
             from one of these six nationalities. While the Department is mindful of the
             requirement to issue Diversity Visas prior to the end of the Fiscal
             Year on September 30, direction and guidance to resume normal processing of
             visas following the 90-day suspension will be sent [in a separate cable].

Dkt. 2-2, at 5-6 (emphasis added).

        Defendants thus established a special procedure governing diversity visa applications by

lottery winners whose countries of origin were subject to entry suspension under EO-2. Under that

procedure, Defendants would first determine whether such a diversity-visa applicant is “otherwise

eligible,” apart from EO-2. Id. at 3. If the applicant was otherwise eligible, she was then “refused”
                                                                                1
a visa unless and until she established that EO-2 did not bar her entry. Id. Such a “refusal” means

that: (1) the applicant had been deemed “otherwise eligible” for a diversity visa, Dkt. 2-2, at 5-6;

but (2) was “ineligible to receive a visa” under the State Department policy purporting to

implement EO-2; and (3) processing of her application was therefore suspended unless and until

she could establish that EO-2 did not bar her entry (for example, if she could prove a family

relationship or some other exception to EO-2). See Dkt. 36, PI Hr’g 25-26, 45-46 (government’s

explanation of the policy).

        D.      Plaintiffs’ Lawsuit and the Preliminary Injunction.

        Plaintiffs are four nationals of Iran and Yemen (as well as their immediate family members)

who won the diversity-visa lottery for Fiscal Year 2017. All promptly submitted their visa

applications and completed their consular interviews. See Dkt. 49 (“PI Op.”) at 5. But, pursuant to

the policy described above, the processing of their visas was suspended—without respect to the

merits of their applications or the statutory and regulatory criteria. See Dkt. 46 (“Am. Compl.”)


1
  The cable’s instruction that applicants should be “refused 221(g)” is a reference to section 221(g) of the
INA, which bars the granting of a visa when the consular official has reason to believe the applicant is
“ineligible to receive a visa.” 8 U.S.C. § 1201(g).

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¶¶ 37-41. None of Plaintiffs’ visa applications were finally refused. PI Op. 16-17. Instead, each

received letters after being interviewed by consular officials stating that they were currently

ineligible for visas under EO-2 but asking them to “demonstrate a bona fide relationship with a

U.S. person or entity to establish an exception to the Executive Order.” Am. Compl. ¶ 40; see id.

¶¶ 37, 39; Dkt. 45-1, at 17 (“If you have documents to show that you have a qualifying relationship

with a person or entity in the U.S. you can send them to our office by email. Upon receipt of your

email, the consular officer will review it and make a determination on your case.”); Dkt. 45-2, at

7-8 (requiring documentation of bona fide relationship); Dkt. 45-3, at 7 (“If you believe you have

a relationship that would qualify you for a visa issuance, please send information to demonstrate

that relationship, as explained above. If you do not have such a credible claim of a bona fide

relationship with a person or entity in the United States, your application will remain in

administrative processing during the 90-day period of this travel restriction.”). Fearing that,

because of the State Department’s policy, their applications would not be processed on the merits

before the end of the Fiscal Year when their eligibility would ordinarily expire, Plaintiffs brought
                                       2
suit on August 3, 2017. See Dkt. 1.

        As Plaintiffs underscored in their complaint, “[t]his case does not challenge the President’s

power to issue the Executive Order,” but rather concerns only “the government’s illegal decision

to refuse to issue visas to individuals covered by the Executive Order’s prohibition on entry.” Am.
                                        3
Compl. ¶¶ 5, 7 (emphasis added). Plaintiffs challenged that refusal under the Administrative



2
  Mr. Almaqrami was an original plaintiff, alongside others who have voluntarily dismissed their claims.
The other three plaintiff families joined the suit on September 22, 2017. PI Op. 5 & n.5; Am. Compl. ¶¶ 12-
19.
3
  See also Am. Compl. ¶ 10 (“Although other cases are currently pending that challenge the Executive
Order’s suspension of entry, Plaintiffs do not challenge that suspension of entry here. Instead, Plaintiffs are
simply asking that their visa applications be processed consistent with the statute and regulations, so that

                                                      7
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Procedure Act (“APA”) and sought declaratory, injunctive, and mandamus relief. Id. ¶¶ 51, 53-67

& A-E. The operative complaint thus asks the district court to, among other things, (1) issue a writ

of mandamus compelling Defendants to process Plaintiffs’ visa applications notwithstanding the

challenged policy, (2) enjoin Defendants from implementing that policy, and (3) enjoin Defendants

to issue visas that would have been issued but for that policy. Id. Plaintiffs also moved for class

certification, seeking to represent all winners of the Fiscal Year 2017 diversity visa lottery whose

applications were refused for processing because their home countries were subject to EO-2. See

Dkt. 3-1 (“Mot. for Class Cert.”) at 5.

        Plaintiffs also sought a preliminary injunction or emergency mandamus relief compelling

Defendants to process their visa applications before the end of the fiscal year. At the time of

Plaintiffs’ motion in August 2017, the Supreme Court had granted certiorari in two cases involving

challenges to the legality of EO-2 itself. See Trump v. IRAP, 137 S. Ct. 2080 (2017) (“IRAP I”).

The Supreme Court had also stayed, with respect to foreign nationals without a bona fide

relationship to a U.S. person or entity, the lower courts’ injunctions against enforcement of EO-2.

See id. After this Court expressed concern that it might be improper to adjudicate Plaintiffs’ claims

on the merits while those cases were pending in the Supreme Court (and while the injunctions

against EO-2 were stayed), Plaintiffs added an alternative request for relief:

        While Plaintiffs believe that the pending litigation in the Supreme Court is
        irrelevant to this case, if the Court disagrees, it could also reserve any unused visa
        numbers until after that case is resolved. … Reserving unused visa numbers would
        permit this Court to maintain the status quo in advance of the decision of the
        Supreme Court.

Dkt. 45 ¶ 7.




they can, if eligible, be issued visas before the September 30 deadline, or pursuant to a court order after the
September 30 deadline. Plaintiffs do not seek an order ... striking down the Executive Order.”).

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        On September 29, 2017, the day before the September 30 deadline, this Court granted

Plaintiffs’ motion in part and denied it in part. PI Op. 17. Because the Supreme Court’s stay order

in IRAP I remained in effect, the Court found it inappropriate to address the merits of this case and

compel Defendants to process Plaintiffs’ visa applications. See id. at 11. Instead, the Court

“grant[ed] the alternative relief Plaintiffs request[ed] and order[ed] the State Department to reserve

any unused visa numbers until after the Supreme Court’s ultimate decision in Trump.” Id. at 8; see

also id. at 15 (directing Defendants to “hold those visa numbers to process Plaintiffs’ visa

applications in the event the Supreme Court finds the Executive Order to be unlawful”). This

remedy, the Court explained, would “address[] the potential irreparable harm that Plaintiffs face.”

Id. at 13. If Plaintiffs’ legal claims ultimately were vindicated, neither the end of the Fiscal Year,

nor an argument that available visa numbers had been exhausted, would prevent Plaintiffs from

receiving visas. See id. at 15.

        This Court modeled this relief on two analogous cases in which courts had ordered the

processing of diversity-visa applications, notwithstanding the passage of the statutory deadline,

because those plaintiffs sought emergency relief before the deadline had passed. See

Przhebelskaya v. U.S. Bureau of Citizenship & Immigration Servs., 338 F. Supp. 2d 399 (E.D.N.Y.

2004); Paunescu v. INS, 76 F. Supp. 2d 896 (N.D. Ill. 1999). As the Court later explained,

Defendants “fail[ed] to specifically argue that the courts in Paunescu and Przhebelskaya

improperly ordered the adjudication of visa applications after the statutory deadline,” and

Defendants had thereby “concede[d] that under certain circumstances, equity permits a court to

order the processing of visas after September 30.” Dkt. 65 (“Mem. Op.”), at 8 n.1. Defendants did

not appeal the preliminary injunction ordering them to hold visa numbers for processing after the

deadline.



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          As part of the same injunctive order, this Court also directed Defendants to report, after the

end of the Fiscal Year, the number of visa numbers that were issued but went unused. PI Op. at

15. Defendants responded that 27,241 visa numbers had been returned unused, and that they had

approved only 49,976 diversity immigrants for Fiscal Year 2017. Dkt. 52-1 ¶ 5. Defendants

thereby confirmed that, by any measure, an adequate number of visas remained available for

Plaintiffs to obtain visas in the Fiscal Year 2017 program.

          E.       This Court’s Ruling on Defendants’ First Motion to Dismiss.

          In October 2017, just weeks after the district court ordered Defendants to hold visa numbers

for Plaintiffs, the Supreme Court disposed of the challenges to EO-2 without reaching the merits.

See Trump v. Hawaii, 138 S. Ct. 377 (2017) (“Hawaii I”); Trump v. IRAP, 138 S. Ct. 353 (2017)

(“IRAP II”). Because the relevant provisions of EO-2 had “expired by [their] own terms,” Hawaii

I, 138 S. Ct. at 377, the Supreme Court vacated the appeals courts’ judgments upholding

injunctions against enforcement of those provisions and remanded for those courts to dismiss the

appeals as moot.

          Defendants then moved to dismiss this case for lack of subject-matter jurisdiction based on
               4
mootness. They first argued that the September 30 statutory deadline barred them from issuing

visas to Plaintiffs—notwithstanding this Court’s preliminary injunction—and that the passage of

time had therefore mooted the case. Dkt. 53-1, at 8-14. Defendants also argued that Plaintiffs’ suit

was, like the Hawaii and IRAP appeals before the Supreme Court, mooted by the expiration of

EO-2. Id. at 15-17. Finally, Defendants argued that the preliminary injunction had conditioned any

further relief for Plaintiffs on a decision by the Supreme Court invalidating EO-2; because the

Supreme Court had not done that, Defendants said, this case was moot. Id. at 17.


4
    Defendants also raised merits arguments, but this Court did not reach those issues.

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        This Court granted Defendants’ motion. Mem. Op. 1. The Court began by correctly

rejecting the argument that the Fiscal-Year deadline barred the Court from ordering the State

Department to process Plaintiffs’ visa applications and (if appropriate) issue their visas. Because

Plaintiffs had sought and obtained relief prior to the statutory deadline, the Court explained, it had

the equitable power to order the State Department to process Plaintiffs’ applications as the prior

order contemplated and the law required. Id. at 7-9. “[I]f the court deemed it appropriate,” the

Court concluded, “it could order the State Department to process Plaintiffs’ diversity visa

applications, and the passing of the September 30 deadline did not moot Plaintiffs’ claims.” Id. at

10. The Court then ruled, however, that Plaintiffs’ claims were mooted by the expiration of EO-2.

Id. at 10-12. The Court acknowledged that “Plaintiffs do not challenge the Executive Order

directly.” Id. at 11. Nonetheless, the Court reasoned that because “section 2(c)’s expiration moots

challenges to the Executive Order, it necessarily follows that challenges to a State Department[]
                                                                                                   5
policy promulgated pursuant to that section of the Executive Order are moot as well.” Id.

        Plaintiffs appealed this Court’s ruling. Dkt. 67. While the appeal was pending, the Supreme

Court reversed injunctions against a later executive order banning nationals of certain countries

from entering the United States (“EO-3”), holding that the plaintiffs were not likely to establish

that EO-3 violated either the INA or the Establishment Clause. Hawaii II, 138 S. Ct. at 2415, 2423.

        F.      The D.C. Circuit’s Reversal.

        The D.C. Circuit reversed the finding that the case was moot. Almaqrami, 933 F.3d 774. It

held that the question whether this Court “may lawfully take steps to grant plaintiffs relief” is a

merits question, not a mootness question. Id. at 780.




5
 The Court deferred ruling on Plaintiffs’ class certification motion until after resolving Defendants’ motion
to dismiss. See Tr. of 12/21/17 Hr’g at 21, Dkt. 70.

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        The Circuit contrasted this case with others in which visa-seekers do not file until after the

statutory deadline, or in which the district court fails to act before that deadline. Id. Because this

Court had granted “some relief—but not the visa—before October 1,” this case fell within a

category of suits in which this Court “might lawfully take steps to compel the government to

process the plaintiff’s application and issue her a diversity visa anyway.” Id. The Circuit thus found

it was “not ‘implausible’ that the district court here could rely on equity to take steps to compel

the issuance of diversity visas, notwithstanding the end of FY 2017.” Id. at 781.

        As the D.C. Circuit noted, even Defendants “acknowledge[d] that courts have that power.”

Id. Defendants had argued only that “that power is limited to cases … in which the court orders

the government to process a visa application.” Id. But the Circuit rejected the line Defendants

attempted to draw between “order[ing] the government to process a visa application” and ordering

it to “potentially process” an application, which Defendants claimed was all that had happened

here. Id. The Circuit found that this distinction “assigns more determinacy to the meaning of [this

Court’s preliminary injunction order] than it can bear.” Id. Because that order could be read to

leave open the possibility of future relief even absent a ruling from the Supreme Court, Plaintiffs’
                                      6
case remained live. See id. at 782.

        The D.C. Circuit also held that the expiration of EO-2 did not moot the case. Id. at 783. As

the Circuit noted, Plaintiffs seek three forms of relief: a declaration that the State Department’s

guidance memo was illegal, an injunction against the memo’s enforcement, and an order to



6
  The D.C. Circuit noted this Court’s additional conclusion that it could not grant further relief because the
Supreme Court had never found EO-2 unlawful. But Defendants “d[id] not defend this reasoning on
appeal,” and the D.C. Circuit disagreed that this was so clearly the way to read this Court’s preliminary
injunction order as to moot the case. Almaqrami, 933 F.3d 774, 781 n.2. After all, Plaintiffs never sought
to challenge EO-2. Instead, their theory of the case is, and always has been, that EO-2, even if valid,
suspends entry but does not authorize the denial of visas. And even though EO-2 has been withdrawn,
Plaintiffs’ visa applications remain unprocessed.

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consular officials to process Plaintiffs’ visa applications. Id. Even if the expiration of EO-2 caused

the State Department policy to expire as well, the Circuit explained, that would not moot the case.

To the contrary, it would “arguably remove[] an obstacle to the plaintiffs’ ability to obtain an order

instructing the government to process their applications and issue them visas pursuant to the INA.”

Id. Nor would the policy’s expiration have any “effect on the potential viability of plaintiffs’

theories of relief.” Id. And in any event, this Court did not find—and Defendants did not argue

before the Circuit—that the policy expired of its own accord along with EO-2. Id. Finally, the

Circuit found that relief could secure Plaintiffs’ immigration to the United States, since they “could

qualify for an exemption or waiver” or the President could lift the entry ban. Id. at 784.

                                           ARGUMENT

I.     Defendants’ Policy Of Refusing To Process Plaintiffs’ Visa Applications Is Unlawful.

       The Court should deny Defendants’ motion to dismiss because Plaintiffs have stated a valid

claim for relief. The path to that conclusion is not long, and this Court has already traveled much

of the way. As this Court held in its September 2017 order, Defendants may refuse to process or

issue a visa only by invoking a ground set forth in the governing law and regulations. But entry

suspension under a § 1182(f) proclamation is not a permissible ground for refusing to process (or

denying) visas. Indeed, EO-2 by its terms does not even instruct Defendants to refuse to process

or to deny visas. Furthermore, refusing visa processing based on nationality, as Defendants’ policy

does, also is an impermissible ground; in fact, it is a specifically prohibited one. Defendants’ policy

thus contravenes the INA and breaches a clear duty owed to Plaintiffs to process their visas.

       A.      The Government May Refuse a Visa Only Upon a Ground Set Forth in the
               Governing Law and Regulations.

       The statute and governing regulations impose an affirmative obligation on Defendants to

adjudicate visa applications and to issue diversity visas to those eligible to receive them. Entitled


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“Issuance or refusal mandatory” when this case was filed, 22 C.F.R § 42.81(a) (2017) stated:

“When a visa application has been properly completed and executed . . ., the consular officer must

either issue or refuse the visa under INA 212(a) or 221(g) or other applicable law. Every refusal
                                                                    7
must be in conformance with the provisions of 22 CFR 40.6.” Section 40.6, in turn, states that

“[a] visa can be refused only upon a ground specifically set out in the law or implementing

regulations.” 22 C.F.R. § 40.6 (emphasis added). Thus, unless Plaintiffs are ineligible under the

statute or regulations, these regulations entitle them to have their visas processed and, ultimately,

granted. See PI Op. 12 (adopting the same analysis). Defendants do not appear to dispute this basic

rule. See generally Mot. 37-43.

        The next question, then, is what grounds of ineligibility the law and regulations recognize.

These divide into two classes. First, Congress imposed an education or work-experience

requirement on diversity-visa recipients in particular. See 8 U.S.C. § 1153(c)(2). Second, the law

also provides that “[n]o visa … shall be issued to an alien if … such alien is ineligible to receive a

visa . . . under section 1182.” 8 U.S.C. § 1201(g). This is the authority on which Defendants rely

to justify the challenged policy. See Mot. 41.

        So what makes someone, in the words of § 1201(g), “ineligible to receive a visa … under

section 1182”? Section 1182(a) squarely answers that question: It says that “aliens who are

inadmissible under the following paragraphs are ineligible to receive visas and ineligible to be

admitted to the United States: …,” and it proceeds to enumerate a series of ten numbered

paragraphs that explicitly deem certain classes of people to be “inadmissible.” These include, for



7
  The regulation was amended in 2019. It is now titled “Grounds for refusal,” and provides: “When a visa
application has been properly completed and executed …, the consular officer must issue the visa, refuse
the visa under INA 212(a) or 221(g) or other applicable law or, pursuant to an outstanding order under INA
243(d), discontinue granting the visa.” 22 C.F.R § 42.81(a). The change was “largely technical in nature.”
Refusal Procedures for Visas, 84 Fed. Reg. 16,610, 16,610 (2019).

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example, health-related grounds, 8 U.S.C. § 1182(a)(1); criminal grounds, id. § 1182(a)(2); and

documentation-related grounds, id. § 1182(a)(7). Putting these interlocking pieces together, a

diversity-visa applicant may be refused a visa if she either does not meet the education/work

requirement (not at issue here), or if she falls within one of § 1182(a)’s enumerated grounds.

Otherwise, a diversity visa “must” be processed—and then issued—under 22 C.F.R § 42.81(a).

       B.       EO-2 Does Not Provide a Ground for Refusing to Process or Issue Visas.

       The State Department policy, however, was not based on any ground set forth in § 1182(a).

Instead, it was based on EO-2, which purportedly is authorized by § 1182(f). But § 1182(f)

authorizes a bar on entry. It does not authorize the suspension of visa processing. Moreover, EO-

2 itself imposed only a bar on entry and did not purport to bar the issuance of visas. Thus, the State

Department policy was not authorized by EO-2—neither by the statutory authority undergirding

EO-2 nor by the terms of EO-2 itself. And Defendants have not offered any other argument

defending the merits of their policy. See Mot. 37-43. For these reasons, Defendants’ policy is

“arbitrary, capricious, … [and] not in accordance with law” under the APA. 5 U.S.C. § 706(2)(A).

And, likewise, adhering to that policy to suspend the processing of Plaintiffs’ visas breaches a

clear duty owed to Plaintiffs, making mandamus relief warranted, as well.

                1.     Section 1182(f) Does Not Make Covered Individuals Ineligible for Visas.

       Defendants’ policy is valid only if Plaintiffs are “ineligible to receive a visa . . . under

section 1182.” 8 U.S.C. § 1201(g); see supra Part I.A. But Section 1182 specifies exactly who is

“ineligible to receive a visa”:

            (a) Classes of aliens ineligible for visas or admission

            Except as otherwise provided in this chapter, aliens who are inadmissible
            under the following paragraphs are ineligible to receive visas and ineligible
            to be admitted to the United States:

            …

                                                 15
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8 U.S.C. § 1182(a) (emphasis added). Section 1182(a) then includes numerous paragraphs listing

various grounds of inadmissibility that render noncitizens ineligible for visas. Defendants do not

argue that the State Department’s policy implements any of these grounds of inadmissibility.

        Instead, Defendants contend that § 1182(f), authorizing the President to suspend entry of

aliens, is one of the “following paragraphs” referenced in § 1182(a). See Mot. 41. That provision

reads, in full:

        Whenever the President finds that the entry of any aliens or of any class of aliens
        into the United States would be detrimental to the interests of the United States, he
        may by proclamation, and for such period as he shall deem necessary, suspend the
        entry of all aliens or any class of aliens as immigrants or nonimmigrants, or impose
        on the entry of aliens any restrictions he may deem to be appropriate. Whenever the
        Attorney General finds that a commercial airline has failed to comply with
        regulations of the Attorney General relating to requirements of airlines for the
        detection of fraudulent documents used by passengers traveling to the United States
        (including the training of personnel in such detection), the Attorney General may
        suspend the entry of some or all aliens transported to the United States by such
        airline.

8 U.S.C. § 1182(f).

        Defendants’ argument is wrong for several reasons. First, the plain language of § 1182(a)

and § 1182(f) make clear that they address different subject matter. Section 1182(a) specifically

addresses “Classes of aliens ineligible for visas or admission.” By contrast, § 1182(f) does not

mention visas or visa eligibility at all; both its title and its text speak only to “Suspension of entry.”

That textual contrast is stark and presumptively deliberate. See Corley v. United States, 556 U.S.

303, 315 (2009) (where “Congress used both [of two] terms in [a statute], … ‘we would not

presume to ascribe this difference to a simple mistake in draftsmanship’” (citation omitted)). As

the Supreme Court recognized in Hawaii II, a “basic distinction between admissibility

determinations and visa issuance … runs throughout the INA.” 138 S. Ct. at 2414. Thus, § 1182(f)

by its own terms has nothing to do with visa issuance, only entry.



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        Second, treating § 1182(f) as a “following paragraph[]” under § 1182(a) contravenes both

controlling Supreme Court precedent and norms of congressional drafting. The Supreme Court has

repeatedly explained that Congress “drafts statutes with hierarchical schemes—section,

subsection, paragraph, and on down the line,” and that Congress “relie[s]” on this system “to make

precise cross-references.” NLRB v. SW General, Inc., 137 S. Ct. 929, 938-39 (2017); see Koons

Buick Pontiac GMC, Inc. v. Nigh, 543 U.S. 50, 60 (2004). In that hierarchical scheme, “paragraph”

does not bear the ordinary meaning taught in elementary schools. Rather, as the Supreme Court

has instructed, a “paragraph” is a numbered unit of statutory text that forms a subpart of a

subsection. “This hierarchy is set forth in drafting manuals prepared by the legislative counsel’s

offices in the House and the Senate,” and it proceeds as follows: first “subsections (starting with

(a))”; then “paragraphs (starting with (1))”; then “subparagraphs (starting with (A))”; and then
                                                                          8
“clauses (starting with (i)).” Koons Buick Pontiac, 543 U.S. at 60. This careful scheme makes it

impossible to treat § 1182(f)—a distinct subsection separated from § 1182(a) by three intervening

subsections, one with over a dozen of its own paragraphs—as one of the “following paragraphs”

that comprise the meat of § 1182(a). Congress is entitled to assume that courts are familiar with

the way statutes are written, and thus that they will apply its hierarchical cross-references in the
                                                          9
ordinary way. See SW General, 137 S. Ct. at 938-39.



8
  For examples of these congressional drafting guides, see H.R., Office of Legislative Counsel, House
Legislative Counsel’s Manual on Drafting Style 24 (Nov. 1995), https://www.llsdc.org/
assets/sourcebook/manual_on_drafting_style.pdf (“To the maximum extent practicable, a section should be
broken into— (A) subsections (starting with (a)); (B) paragraphs (starting with (1)) ….”); and S., Office of
Legislative Counsel, Legislative Drafting Manual 10 (Feb. 1997), https://law.yale.edu/sites/default/
files/documents/pdf/Faculty/SenateOfficeoftheLegislativeCounsel_LegislativeDraftingManual%281997%
29.pdf (stating that “[a] section is subdivided and indented as follows,” listing “(1) Paragraph” within “(a)
Subsection,” and admonishing that “[e]ach subdivision of a draft should express a single concept”).
9
  If there were any doubt, the use of “paragraph” as a term of art is evident throughout § 1182 (as it is
throughout the U.S. Code). See, e.g., 8 U.S.C. § 1182(a)(4)(B)(i) (listing factors to use in determining
“whether an alien is inadmissible under this paragraph,” i.e., paragraph (4)).

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        If people covered by a Presidential entry suspension under § 1182(f) were also supposed

to be ineligible for visas, Congress could easily have said as much in § 1182(f). Or it could have

made reference to those people in one of the ten paragraphs under § 1182(a). See, e.g.,

§ 1182(a)(3)(C)(i) (making certain people designated by the Secretary of State ineligible for visas).

Or it could have included § 1182(f) as a new § 1182(a)(11). But it did not. Instead, Congress

purposely drafted § 1182 to ensure that eligibility for a visa and eligibility for admission or entry

remained distinct. See Advocate Health Care Network v. Stapleton, 137 S. Ct. 1652, 1659 (2017)

(“When legislators did not adopt ‘obvious alternative’ language, ‘the natural implication is that

they did not intend’ the alternative.” (citation omitted)). Thus, even someone who arrives with a

valid visa may be denied entry; conversely, some may enter even without a visa. See, e.g., 8 U.S.C.

§ 1182(a)(1)(A)(i) (barring entry of those with communicable diseases), § 1182(l)(1) (waiving visa
                                                                                                           10
requirement for certain aliens seeking to enter only certain areas); Hawaii II, 138 S. Ct. at 2414.

        This case demonstrates why such a visa eligibility/entry distinction makes sense. Section

1182(f) presupposes the possibility of restrictions on entry that could be quite short in duration.

By only limiting entry and not visa issuance, § 1182(f) prevents a scenario, as occurred here, where

a temporary entry suspension prevents a visa applicant from obtaining a visa that could be used

once the entry suspension is lifted.

        Third, the divergent texts and structures of subsections (a) and (f) confirm that Defendants’

reading is untenable. The numbered paragraphs under subsection (a) each follow the same pattern:



10
   In fact, the second sentence of § 1182(f) itself highlights the entry/visa distinction. That sentence
authorizes the Attorney General to “suspend the entry of some or all aliens transported to the United States
by [an] airline” if the airline does not comply with certain anti-fraud measures. § 1182(f). But nobody would
think this entry regulation justifies revoking the visas of people who have traveled or intend to travel on
that airline; they simply have to enter by a different means. See generally Suspension of Privilege to
Transport Aliens to the United States, 63 Fed. Reg. 56,869 (Oct. 23, 1998) (discussing purposes of this
provision).

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They define a class and then state that any member of it “. . . is inadmissible.” That fits perfectly

with subsection (a)’s overall provision that “aliens who are inadmissible under the following

paragraphs” are ineligible for visas (as well as entry). It also reflects that “Congress has employed

the concept of ‘inadmissibility’ as a status” that blocks access to many immigration benefits “[f]ull

stop.” Barton v. Barr, 140 S. Ct. 1442, 1452 (2020). By contrast, § 1182(f) does not use the term

“inadmissible” or discuss visa eligibility. It separately authorizes the President to “suspend the

entry” of classes of noncitizens for a limited time. 8 U.S.C. § 1182(f). That authorization does not

connect with subsection (a) at all, confirming that it is not one of the “following paragraphs” to

which subsection (a) refers.

       Defendants ignore the statutory text, and instead rely on a passage from Hawaii II stating

that “Section 1182 defines the universe of aliens who are admissible into the United States (and

therefore eligible to receive a visa).” 138 S. Ct. at 2414 (cited by Mot. 38). According to

Defendants, this means that grounds for inadmissibility outside of Section 1182(a)—such as

Section 1182(f)—also makes noncitizens ineligible for visas. This argument misinterprets the

Supreme Court’s opinion. The Court merely stated that being admissible implies that one is also

visa-eligible. But that does not mean, inversely, that all grounds for inadmissibility make one visa-

ineligible. A person might become inadmissible for a temporary period based on an § 1182(f)

proclamation; but such a person can still receive a visa, which can later be used once the temporary

entry restriction is lifted. Indeed, as noted above, a different reading would contravene the statutory

text: Section 1182(a) links visa ineligibility expressly to those grounds for inadmissibility set forth

in Section 1182(a), not elsewhere, and Section 1182(f) does not even speak of inadmissibility.

       Indeed, when read as a whole, the Supreme Court’s reasoning in Hawaii II supports

Plaintiffs’ argument, not Defendants’. As the Supreme Court noted, § 1182’s “restrictions come



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into play at two points in the process of gaining entry (or admission) into the United States.”

Hawaii II, 138 S. Ct. at 2414 (footnote omitted). The Court then differentiated between grounds

for inadmissibility set forth in Section 1182(a)—which made noncitizens ineligible for a visa—

and Section 1182(f), which made noncitizens unable to enter. “First,” the Court said, “any alien

who is inadmissible under § 1182 (based on, for example, health risks, criminal history, or foreign

policy consequences) is screened out as ‘ineligible to receive a visa.’” Id. (quoting 8 U.S.C.

§ 1201(g)). The Court then continued, explaining that even if a noncitizen possessed a valid visa,

“a visa does not entitle an alien to enter the United States ‘if, upon arrival,’ an immigration officer

determines that the applicant is ‘inadmissible under this chapter, or any other provision of law’—

including § 1182(f).” Id. (quoting 8 U.S.C. § 1201(h)) (emphasis added). Thus, as the Court

recognized, Section 1182(a) provides grounds for visa ineligibility, while § 1182(f) prohibits entry

of covered people upon arrival, even if they have valid visas. That tracks “the basic distinction

between admissibility determinations and visa issuance” that, as the Court recognized, “runs

throughout the INA.” Hawaii II, 138 S. Ct. at 2414.

       For all of these reasons, being subject to suspension of entry under § 1182(f) cannot make

someone “ineligible to receive a visa … under section 1182.” 8 U.S.C. § 1201(g). EO-2,

promulgated under § 1182(f), therefore cannot serve as a lawful basis for the State Department’s

policy of refusing to process visa applications from individuals subject to EO-2’s entry ban.

               2.      In Any Event, EO-2 Does Not Order Defendants to Suspend Visa
                       Issuance.

       For the reasons just discussed, as a matter of law, a proclamation under § 1182(f) cannot

alter visa eligibility. But even if one could do so, Defendants’ theory would fail for the independent

reason that EO-2 did not do so.




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       Rather, in keeping with its statutory basis, EO-2 directed the suspension of entry. The order

was titled “Protecting the Nation From Foreign Terrorist Entry Into the United States.” Its findings

repeatedly cited “the risk of erroneously permitting entry of a national of” certain countries. EO-

2, § 1(f), (h), (i), 82 Fed. Reg. at 13,211-12 (emphasis added). And, most importantly, the operative

language in Section 2(c) halted “the entry into the United States” of those within its scope. Id. at

13,213 (emphasis added). It did not purport to impose any limit on the process of issuing a visa.

       Visa issuance and entry are two different matters that involve independent components of

the Executive Branch and are often widely separated in time and place. For Plaintiffs, who seek to

immigrate to the United States on a permanent basis, the first step is receiving an immigrant visa

from the relevant consular official—an employee of the State Department—at the official’s office

outside the United States. The second step, entry, may occur up to six months later. At that stage,

a visa-holder must travel to the United States and seek admission from U.S. Customs and Border

Protection (“USCIS”), a component of the Department of Homeland Security. These differences

strongly suggest that an order governing entry did not also order an upheaval in visa processing.

See also supra Part I.B.1 (explaining the distinct statutory treatments of these two subjects).

       Two historical points corroborate that conclusion. First, Defendants’ lead example of a

precedent for EO-2—the 1980 suspension of visas for Iranians—cuts sharply against their position.

See Mot. 39. In that case, President Carter’s one-paragraph executive order, described as a

“Delegation of Authority,” simply “[d]elegat[ed]” to the Secretary of State and the Attorney

General the statutory “authority conferred upon the President” to impose travel restrictions. Exec.

Order No. 12,172, 44 Fed. Reg. 67,947 (Nov. 26, 1979). The operative order actually exercising

that statutory authority—the analogue to EO-2 today—did specifically address “[t]he issuance of

immigrant and nonimmigrant visas to nationals of Iran.” Additional Requirements in the Case of



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Certain Nonimmigrant Aliens, 45 Fed. Reg. 24,436 (Apr. 9, 1980).               Yet, faced with that clear

precedent, the current President elected not to alter visa practices in his own highly detailed order.

        Second, the history of EO-2 itself demonstrates that the President’s choice in this regard

was deliberate. The relevant section of the predecessor order, Executive Order 13,769, employed

a wholly different title: “Suspension of Issuance of Visas and Other Immigration Benefits to

Nationals of Countries of Particular Concern.” Exec. Order 13,769, § 3, 82 Fed Reg. 8977 (Jan.

27, 2017) (emphasis added). In contrast, EO-2 retitled the relevant section—apparently to make

its limited scope clear—to read: “Temporary Suspension of Entry for Nationals of Countries of

Particular Concern During Review Period.” EO-2 § 2, 82 Fed. Reg. at 13,212.

        Given the plain language of EO-2 and all of this contextual evidence, there is no basis to

conclude it prescribed a suspension of visa issuance. That is particularly clear when, as explained

above, an order under § 1182(f) could not lawfully have that effect. Just as courts assume that

Congress “legislates in the light of constitutional limitations,” Rust v. Sullivan, 500 U.S. 173, 191

(1991), this Court should resolve any residual doubt about the meaning of EO-2 by assuming that

the President observed the statutory limitations on his authority. Visa issuance and entry are two

different matters.

        In sum, an entry suspension under § 1182(f) is not a ground for denying a visa under

§ 1182(a), and EO-2 did not suspend issuance of visas in any event. Therefore, Defendants’ policy

of refusing to process visas for applicants like Plaintiffs, who would be “otherwise eligible” but

for EO-2’s entry ban, Dkt. 2-2 at 5-6, violates the INA. Because Plaintiffs are eligible for visas on




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   For the textual reasons described above, Plaintiffs do not concede the legality of the 1979-1980 orders
relating to Iran. Cf. 4A Op. O.L.C. 133, 140 (1979) (concluding only that the Iran orders “would probably
be sustainable” (emphasis added)).

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every criterion that the INA and its implementing regulations allow Defendants to take into

account, Defendants have a clear duty to process Plaintiffs’ visa applications and issue them visas.

        Moreover, to the extent Defendants contend that the State Department policy is now

“defunct,” Mot. 23, that just “removes an obstacle to [Plaintiffs’] ability to obtain an order

instructing the government to process their applications and issue them visas pursuant to the INA

separate and apart from anything provided in the [cable].” Almaqrami, 933 F.3d at 783.

        C.      Defendants’ Policy Illegally Bars Visa Processing Based on Nationality.

        Defendants’ policy violates the INA for another reason, as well. Not only does it suspend

visa issuance on a ground nowhere to be found in § 1182(a), but it does so on a ground that the

INA elsewhere expressly prohibits: namely, being a national of one of the six countries covered

by EO-2. The INA bars “discriminat[ion] … in the issuance of an immigrant visa because of [a]

person’s … nationality,” 8 U.S.C. § 1152(a)(1)(A), “[e]xcept as specifically provided” in four
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enumerated provisions, none of which is at issue here. Id. Thus, even if Defendants could suspend

visa applications on grounds not recognized by § 1182(a), they still could not suspend applications

on the basis of nationality. Yet that is precisely what they are doing. Defendants’ policy thus

warrants relief under the APA and the Mandamus Act.

        Defendants assert that the INA’s ban on nationality discrimination does not apply here,

relying on the Supreme Court’s decision upholding EO-3 in Hawaii II. Mot. 37-38. But Hawaii II

only confirms that Defendants’ policy, which is supposedly based on EO-2, violates

§ 1152(a)(1)(A) by extending nationality discrimination to visa processing and issuance. As the

Court emphasized, “§ 1152(a)(1)(A) prohibits discrimination in the allocation of immigrant visas




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  Indeed, a belated recognition of this prohibition may explain why EO-2, in contrast to its predecessor,
was limited to a bar on entry and did not address visa eligibility. See supra at 22.

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based on nationality and other traits.” Hawaii II, 138 S. Ct. at 2414. The Court held that

§ 1152(a)(1)(A) did not prohibit EO-3 because EO-3 effected an entry ban, not a ban on visa

issuance. See id. (“[W]e reject plaintiffs’ interpretation because it ignores the basic distinction

between admissibility determinations and visa issuance that runs throughout the INA. … Had

Congress instead intended in § 1152(a)(1)(A) to constrain the President’s power to determine who

may enter the country, it could easily have chosen language directed to that end.”). The State

Department cable, by contrast, bars visa issuance, to which § 1152(a)(1)(A)’s prohibition on

discrimination does apply. Nor does it matter “that the DV Program already explicitly

discriminates based on nationality in selecting lottery ‘winners.’” Mot. 38. The diversity visa

allocation scheme is located at 8 U.S.C. § 1153(c), and the INA’s ban on nationality discrimination

specifically exempts § 1153 from its ambit. See 8 U.S.C. § 1152(a)(1)(A). Thus, while diversity

visas may therefore be allocated by nationality, § 1152(a)(1)(A) forbids any additional layering on

of nationality-based visa restrictions from outside the exempted provisions—including from either

§ 1182(f) or a State Department cable. Thus, far from “extinguishing the merits of Plaintiffs’

claims,” Mot. 37, the Court’s decision to uphold EO-3 in Hawaii II has little to do with those

claims, except to strengthen Plaintiffs’ arguments that Defendants’ policy is illegal under the text

of both § 1182(a) and § 1152(a)(1)(A).

II.    Defendants’ Alternative Arguments Are Unavailing.

       Faced with clear law prohibiting Defendants’ policy, Defendants spend much of their

motion seeking to avoid a decision on the merits of that policy. Instead, they raise three alternative

arguments for dismissal: first, that this Court lacks equitable power to follow up and enforce its

own preliminary injunction; second, that consular nonreviewability bars Plaintiffs’ claims; and

third, that Plaintiffs lack a cause of action because they merely complain about Defendants’

processing speed. Mot. 23-36. This Court has rejected each of these arguments before; it should

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do so again. Absent some significant change, “the same issue presented a second time in the same

case in the same court should lead to the same result.” LaShawn A. v. Barry, 87 F.3d 1389, 1393

(D.C. Cir. 1996) (explaining the basis for the law-of-the-case doctrine). In light of Defendants’

failure to identify any intervening developments, the Court can and should simply adhere to its

prior analysis of the issues that Defendants now ask to relitigate. Cf. Assassination Archives &

Research Ctr. v. CIA, 48 F. Supp. 2d 1, 13 (D.D.C. 1999) (explaining, in reconsideration context,

that a party is not entitled to “an opportunity to reargue facts and theories upon which a court has

already ruled” (citation omitted)).

        In any event, the Court’s previous analysis was correct: this Court may order the relief

Plaintiffs seek, and Defendants’ attempts to distinguish prior cases ordering such relief do not

withstand scrutiny. The Court retains equitable power over Defendants, despite the statutory

deadline for visa issuance, because the Court acted before that deadline to preserve the status quo

and now may act to enforce its prior order. Consular nonreviewability poses no barrier both

because Defendants never finally denied Plaintiffs’ visa applications and, independently, because

Plaintiffs challenge Defendants’ authority to refuse to process or grant Plaintiffs’ applications

rather than a particular decision to grant or deny a visa. And Plaintiffs have a cause of action under

both the APA and the Mandamus Act to seek review of their applications without imposition of

an illegal policy.

        A.      This Court Has the Equitable Power to Enforce Its September 2017 Order.

        Defendants’ principal argument rests on 8 U.S.C. § 1154(a)(1)(I)(ii)(II) ( “subclause (II)”),

which specifies that lottery-winners are “eligible” to receive diversity visas “only through the end

of the specific fiscal year for which they were selected.” Defendants contend that subclause (II)

makes relief in this case impossible. Even if they broke the law by refusing to process Plaintiffs’



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applications, Defendants say, the Court should afford no remedy because they sat on the

applications through the end of Fiscal Year 2017—which is to say, because they got away with it.

       Unsurprisingly, courts have rebuffed such efforts to convert the wrong itself into a reason

it cannot be remedied. They have consistently held—as this Court did—that they “may order the

State Department to process visas past the statutory deadline where Plaintiffs have sought relief

prior to the end of the fiscal year, as Plaintiffs have here.” PI Op. 14-15 (citing, inter alia,

Przhebelskaya, 338 F. Supp. 2d 399, and Paunescu v. INS, 76 F. Supp. 2d 896).

               1.      Ordering Relief After the End of the Fiscal Year Is Both Permissible
                       and Proper in This Case.

       The rule allowing a court to order the processing of visas after the statutory deadline, so

long as Plaintiffs sought relief and a court had acted prior to the end of the Fiscal Year, is eminently

fair and rooted in settled legal principles. As this Court previously explained, Przhebelskaya and

Paunescu provide the most relevant guidance here. In those cases, as in this one, the lottery-

winners conscientiously sought judicial relief before the end of the Fiscal Year, and thus in their

capacity as eligible visa recipients. And in Przhebelskaya and Paunescu, as in this case, the courts

granted injunctive relief to the plaintiffs before the end of the Fiscal Year. See Przhebelskaya, 338

F. Supp. 2d at 402; Paunescu, 76 F. Supp. 2d at 898. As this Court explained, having laid those

predicates, both courts recognized their power to make their orders effective by compelling

adjudication after the end of the Fiscal Year, “even though doing so would conflict with the

statutory limitations on visa issuance.” PI Op. 12; see id. at 15 (“Neither the expiration of the

statutory deadline nor the fulfillment of the statutory quota extinguishes the Agency’s obligation

to comply with the court’s order.” (quoting Przhebelskaya, 338 F. Supp. 2d at 403 (emphasis added

by this Court))). Thus, unlike cases in which “the plaintiff files suit after the selection FY has

ended,” or in which “the court fails to act on [a] request until after September 30,” if a plaintiff


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timely files and “the court grants some relief—but not the visa—before October 1. … the court

might lawfully take steps [after October 1] to compel the government to process the plaintiff’s

application and issue her a diversity visa anyway.” Almaqrami, 933 F.3d at 780.

       This Court’s September 2017 order is, for all relevant purposes, the same as the predicate

orders in Przhebelskaya and Paunescu. As the Court explained at that time, the point of

preliminary relief is “to preserve the relative positions of the parties until a trial on the merits can

be held.” PI Op. 8 (quoting Tex. Children’s Hosp. v. Burwell, 76 F. Supp. 3d 224, 235 (D.D.C.

2014)). The Court’s order did that by laying a foundation for later adjudication of Plaintiffs’ visa

applications, if appropriate, even after the end of the Fiscal Year. See id. at 13 (explaining that the

order “address[ed] the potential irreparable harm that Plaintiffs face” through the imminent lapsing

of their eligibility). Defendants now contend that subclause (II) bars any post-deadline relief,

notwithstanding the Court’s order. But if Defendants were right about that, the order would not

have frozen the status quo, as the Court intended; indeed, the order would have had no effect at

all. The Court need not and should not accept a theory that renders its own prior order pointless.

       Indeed, Defendants’ proposed rule would have severe adverse effects for judges as well as

visa applicants. It would require courts to issue more intrusive injunctions—mandatory injunctions

to issue visas—to avoid mooting cases. And because courts would have to grant this mandatory

relief by the end of the Fiscal Year, they would have to race from a filing to a final decision on the

merits in, at most, twelve months’ time (and likely far less). Defendants’ rule would thus force

courts to engage in more disruptive actions on shorter timeframes.

       None of the authority Defendants cite supports their theory. Although Defendants point to

several cases denying relief based on subclause (II), they can point to none in which relief has ever

been denied to a lottery-winner who secured a judicial order before the end of the Fiscal Year.



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Defendants rely principally upon Iddir v. INS, 301 F.3d 492 (7th Cir. 2002). In that case, “INS …

waited until after the prescribed time period to hear the plaintiffs’ petitions,” then “summarily

rejected the petitions, not on the merits, but on the grounds that time within which the petitions

had to be heard expired.” Id. at 495. The district courts thus could not have granted relief before

the relevant Fiscal Years ended, and indeed dismissed the cases below. Id. at 494. The Seventh

Circuit therefore held that “the relief the appellants currently seek is illusory, because even if the

INS adjudicated the applications today, visas could not be issued.” Id. at 500. But the case would

be different, the court said, if a court had acted “while the INS maintained the statutory authority

to issue the visas.” Id. at 501 n.2. Indeed, “[a]llowing the INS to claim inability to issue visas at

that point would impinge the authority of the court.” Id.

       Thus, as a later Seventh Circuit panel stated, the Iddir court “recognized that the case would

have been different if it had been filed before the end of the visa year, while the INS still had

statutory authority to issue the visa, and if the district court had acted within that time period.”

Ahmed v. DHS, 328 F.3d 383, 387 (7th Cir. 2003). The fact that this Court ordered Defendants to

hold visa numbers in reserve for future processing preserved its power to act after the Fiscal Year

was over. Cf. Almaqrami, 933 F.3d at 780 (“In such a case, after the selection FY has ended, the

court might lawfully take steps to compel the government to process the plaintiff’s application and

issue her a diversity visa anyway.”).

       Likewise, the other cases on which Defendants rely either explicitly or implicitly

distinguish cases like this one. See Zixiang Li v. Kerry, 710 F.3d 995, 998, 1002 (9th Cir. 2013)

(denying as moot a claim to force Department of State to issue visas after neither the Department

nor a court had acted, because “[o]nce a visa number is gone, it cannot be recaptured absent an act

of Congress,” and “some of the visa numbers they seek to recapture have already been allocated



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to other individuals”); Coraggioso v. Ashcroft, 355 F.3d 730, 734 n.8 (3d Cir. 2004) (noting that

if petitioner had “sought relief prior to the expiration of the 1998 fiscal year, our analysis may have

been different,” and that “[t]he Seventh Circuit has explicitly approved” cases to that effect); U.S.

ex rel. Newman v. City & Suburban Ry. of Wash., 42 App. D.C. 417, 420 (D.C. Cir. 1914) (refusing

mandamus because “an express [time] limitation was placed upon the power of the [plaintiff]

railway company to institute the condemnation proceedings” sought and the company did not act

within that time); see also Keli v. Rice, 571 F. Supp. 2d 127, 135 (D.D.C. 2008) (distinguishing

between cases in which courts had versus had not “order[ed] any injunctive relief before the

applicable fiscal year ended”). The statutory deadline thus poses no barrier: this Court acted before

FY 2017 ended and may exercise its equitable powers to enforce compliance with its prior order.

               2.      Defendants Cannot Distinguish Przhebelskaya and Paunescu.

       At earlier stages of this case, Defendants had conceded that Paunescu and Przhebelskaya

“may appear to provide an exception to th[e] rule” they advocated, and had declined to argue that

Paunescu and Przhebelskaya were wrongly decided. Dkt. 53-1, at 12; see id. at 12-14. Indeed,

Defendants embraced those cases as valid exercises of a court’s “inherent power.” Id. at 14; see

Almaqrami, 933 F.3d at 781 (admitting “courts have that power”). They simply sought to

distinguish Paunescu and Przhebelskaya as cases in which “the court order[ed] the government

to process a visa application” instead of to “to potentially process them.” Almaqrami, 933 F.3d at

781; see Mem. Op. 9-10 (rejecting argument). Defendants have apparently abandoned that view.

They now embrace two other tactics: first, they tar Paunescu and Przhebelskaya as inconsistent

with D.C. Circuit precedent; and second, they try to distinguish between immigrants who seek

relief while on U.S. soil and those who seek it while abroad. Neither gambit succeeds.

       Defendants first assert that Paunescu and Przhebelskaya are “inconsistent,” Mot. 26, with

the D.C. Circuit’s decision in American Hospital Ass’n v. Price, 867 F.3d 160 (D.C. Cir. 2017).

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They quote that case’s statement that, “just as a court may not require an agency to break the law,

a court may not require an agency to render performance that is impossible.” Id. at 167; see Mot.

25. Of course, Defendants’ wooden reading of that language is at odds with Przhebelskaya and

Paunescu, which—at least until now—Defendants have accepted, and which the D.C. Circuit did

not question in this case. As for American Hospital, it is inapposite because, unlike in this case,

the alleged illegality there may already have been impossible to remedy when the case was filed—

something the lower court had failed to consider. In American Hospital, plaintiffs sought relief

compelling an agency to clear a backlog of administrative appeals that had already accumulated.

The D.C. Circuit faulted the District Court for “command[ing] the Secretary to perform an act …

without evaluating whether performance was possible,” or, at least, possible without settling the

pending cases en masse. Id. at 162; see id. at 168. Thus, the error was failing even to grapple with

the question of whether it was physically possible for the agency to comply with a court order. In

contrast, this Court has already found that Defendants are entirely capable of lawfully processing

Plaintiffs’ visa applications—an act that was legally owed to Plaintiffs all along.

       Defendants’ use of American Hospital runs into another difficulty: the D.C. Circuit’s ruling

in this case. If American Hospital had in fact negated Przhebelskaya and Paunescu, Plaintiffs’

claim to equitable relief would have been “implausible”—indeed, entirely foreclosed by binding

precedent—and the D.C. Circuit would have declared this case moot. Yet, although Defendants

pointed to American Hospital before both this Court and the D.C. Circuit to support its mootness

argument, see Dkt. 53-1, at 10; Br. for the Appellees 23, 33, Almaqrami v. Pompeo, 933 F.3d 774

(No. 18-5156), the D.C. Circuit held that it is “not ‘implausible’ that [this Court] could rely on

equity to take steps to compel the issuance of diversity visas, notwithstanding the end of FY 2017,”

Almaqrami, 933 F.3d at 781 (emphasis added).



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        Defendants also rely (Mot. 25) on INS v. Pangilinan, 486 U.S. 875 (1988), which involved

a group of Filipino nationals who “filed [for U.S. citizenship] more than 30 years after the

deadline” established by a since-expired naturalization statute, id. at 884. The Ninth Circuit

nonetheless approved their naturalization as a matter of “equity.” Id. at 883. In the language

stressed by Defendants, the Supreme Court rebuked the lower courts for “disregard[ing] statutory

and constitutional requirements and provisions” and “creat[ing] a remedy in violation of law.” Id.

at 883 (quotation marks and citations omitted). However, as with American Hospital, Defendants’

literalistic reading of the quoted language would invalidate the results in Przhebelskaya and

Paunescu, which Defendants have hitherto accepted. Moreover, the Court’s admonitions in

Pangilinan can only be understood in the context of that highly unusual case. “The only form of

relief specifically disapproved by the Pangilinan Court,” the D.C. Circuit has explained, “was the

lower courts’ asserted ‘power to make someone a citizen of the United States.’” In re Thornburgh,

869 F.2d 1503, 1517 (D.C. Cir. 1989) (citation omitted); see id. at 1517 n.21 (“The Pangilinan

Court understandably focused only on the constitutional and statutory limitations on the power of

courts to confer citizenship.”). But there is no dispute that courts may order immigration officials

to follow their own regulations. This Court would pay Pangilinan “no respect” by “extend[ing]

[it] far beyond the circumstances for which [it was] designed.” Cooper v. Harris, 137 S. Ct. 1455,
               13
1481 (2017).

        Defendants also argue, for the first time in this litigation, that Przhebelskaya and Paunescu

are inapposite because they involved plaintiffs who were physically “within the United States.”

Mot. 26. Plaintiffs are aware of no court that has ever limited its equitable powers to exclude cases


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  Antone v. Block, 661 F.2d 230 (D.C. Cir. 1981), is even further afield (Mot. 26). Antone simply held that
a district court may not issue relief under the APA based on agency conduct that does not violate the APA
in the first place. See id. at 235.

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brought by individuals outside the United States. (Perhaps that is why Defendants do not cite any.)

Certainly, neither Paunescu, 76 F. Supp. 2d at 901-03, nor Przhebelskaya, 338 F. Supp. 2d at 403-

06, discussed their plaintiffs’ presence in the United States as a factor in their decisions, much less

a deciding factor. And the Seventh Circuit has articulated exactly the opposite of Defendants’

position. See Ahmed, 328 F.3d at 388 (“The fact that Ahmed was a person living abroad seeking

such a visa, and the parties in Iddir appear to have been in the United States on other grounds, is

immaterial to this aspect of the case.”).

        The Court’s equitable powers over Defendants do not depend on whether Plaintiffs are on

American soil. Rather, it is Defendants’ own acts—the issuance of a policy from the State

Department’s Foggy Bottom headquarters—and this Court’s prior orders that authorize further

relief here. First, “relief may be given in a court of equity ... to prevent an injurious act by a public

officer.” Armstrong v. Exceptional Child Ctr., Inc., 575 U.S. 320, 327 (2015) (citation omitted).

This rule “reflects a long history of judicial review of illegal executive action, tracing back to

England,” id., and is reflected in both the Mandamus Act and the APA. Second, the Court has the

inherent power to enforce its own judgments. See, e.g., Peacock v. Thomas, 516 U.S. 349, 356

(1996) (“Without jurisdiction to enforce a judgment entered by a federal court, ‘the judicial power

would be incomplete and entirely inadequate to the purposes for which it was conferred by the

Constitution.’” (citation omitted)). Both these powers rely on this Court’s authority over

Defendants, not on whether Plaintiffs seek visas from consular officials abroad or USCIS officials

in the United States. For these reasons, Defendants’ long recitation of the historical differences in

immigration law between applicants from within the United States and without is largely




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                               14
irrelevant. See Mot. 26-28.         So too is Defendants’ unsupported invocation of “separation-of-

powers and foreign affairs issue[s].” Mot. 27. If Plaintiffs are right on the merits, this Court has

the equitable power to enforce its prior order by requiring Defendants to process Plaintiffs’ visas.

        B.      The Doctrine of Consular Nonreviewability Does Not Apply.

        As with the question of this Court’s equitable power, Defendants give the Court no

substantial reason to reopen the question of consular nonreviewability in this case. They simply

ask the Court to “revisit” its prior decision holding that consular nonreviewability does not apply,

Mot. 28; PI Op. 15-17—and, implicitly, this Court’s later decision adhering to that ruling, Mem.

Op. 12 n.3. Yet Defendants make only legal arguments that they made (or, at a minimum, could

have made) before. Under these circumstances, there is no reason for the Court to answer the same

purely legal question a different way after deciding it the opposite way. See LaShawn A., 87 F.3d

at 1393 (“Inconsistency is the antithesis of the rule of law.”). The Court should therefore decline

to take up Defendants’ renewed nonreviewability arguments at all.

        If the Court does address reviewability again, however, it should confirm both of its prior

holdings. The Court first held that consular immunity “does not apply” because “the government

has not made a final visa decision” in Plaintiffs’ cases. PI Op. 15. As explained below, the Court

correctly stated the legal rule and correctly applied it to this case. The Court also held that consular

immunity does not apply because Plaintiffs challenge a State Department policy rather than solely

the results of their visa applications. PI Op. 17. This reasoning, too, is correct.




14
  Indeed, the entire upshot of the historical discussion Defendants pull from Randall v. Meese, 854 F.2d
472 (D.C. Cir. 1988), is that immigrants seeking permanent resident status from within the United States
get two bites at the apple—first with immigration officers and second in deportation proceedings—while
those seeking such status from abroad can rely only on the consular route, id. at 474-75. This difference has
no bearing on the court’s equitable powers in either context.

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                 1.      Consular Nonreviewability Does Not Apply When No Consular
                         Decision Has Been Rendered, and No Consular Decision Has Been
                         Rendered in Plaintiffs’ Cases.

        As Judge Kessler has explained at length, “the doctrine of consular nonreviewability is not

triggered until a consular officer has made a decision with respect to a particular visa application.”

Nine Iraqi Allies Under Serious Threat Because of Their Faithful Serv. to the United States v.

Kerry, 168 F. Supp. 3d 268, 290 (D.D.C. 2016) (“Nine Iraqi Allies”); see PI Op. 15-16 (following

Nine Iraqi Allies). That limitation is rooted in the purposes of the nonreviewability doctrine: In

light of “the political nature of visa determinations,” “a consular official’s decision to issue or

withhold a visa is not subject to judicial review.” Saavedra Bruno v. Albright, 197 F.3d 1153, 1159

(D.C. Cir. 1999) (emphasis added). But “[w]hen the Government simply declines to provide a

decision in the manner provided by Congress, it is not exercising its prerogative to grant or deny

applications.” Nine Iraqi Allies, 168 F. Supp. 3d at 290-91. Accordingly, such refusals to process

applications are reviewable, even when a consular officer’s ultimate judgment on an application’s

merits is not. See id.; see also Patel v. Reno, 134 F.3d 929, 932 (9th Cir. 1997) (holding that

“jurisdiction exists to consider whether the consulate has the authority to suspend the visa

applications”); Maramjaya v. USCIS, No. 06-2158 (RCL), 2008 WL 9398947, at *4 (D.D.C. Mar.

26, 2008) (holding that the doctrine of consular nonreviewability did not apply where the “case

ha[d] not procedurally progressed to the point where consular immunity would bar judicial
                                                                                                   15
review”). Case law since this Court’s previous decision only reinforces this distinction.


15
   See, e.g., Motaghedi v. Pompeo, No. 1:19-CV-01466-LJO-SKO, 2020 WL 489198, at *6 (E.D. Cal. Jan.
30, 2020) (“Plaintiffs do not appear to challenge the grant or denial of waivers. … Plaintiffs appear to
challenge the pre-waiver implementation of PP 9645, which falls outside the doctrine of consular
nonreviewability.”); Didban v. Pompeo, ---F. Supp. 3d ---, No. 19-CV-881 (CRC), 2020 WL 224517, at *4
(D.D.C. Jan. 15, 2020) (“As other courts in this district have held, ‘the doctrine of consular nonreviewability
is not triggered until a consular officer has made a decision with respect to a particular visa application.’”
(quoting Nine Iraqi Allies, 168 F. Supp. 3d at 290)); Moghaddam v. Pompeo, 424 F. Supp. 3d 104, 114
(D.D.C. 2020) (“[T]he consular nonreviewability doctrine applies only to decisions actually made by

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        As this Court already determined, this case falls squarely within the exception to

nonreviewability described above. See PI Op. 16-17. Specifically, in its September 2017 order, the

Court considered the parties’ arguments and explained that Plaintiffs’ applications had not “been

finally refused,” but rather remain “pending.” Id. Plaintiffs had been asked for additional

information and told that they could still obtain a visa if they established an exception to EO-2’s

entry ban. See supra at 6-7. “The State Department’s most recent communications with Plaintiffs,

coupled with its representations to the court,” showed that they still had a chance of receiving visas

when this Court ordered Defendants to reserve them visa numbers. PI Op. at 17.

        In their October 2017 memorandum, Defendants did not contest that determination or

attempt to identify any intervening development. Dkt. 53-1, at 17-21. Yet Defendants now claim

that Plaintiffs’ visas were in fact refused, making an argument which they could have raised but

did not raise back in 2017. The State Department’s Foreign Affairs Manual says that consular

officers must either issue a visa or refuse it after executing a visa application. Mot. 33 (quoting 9

FAM § 504.11-2(A)(a)). Because Plaintiffs’ “administrative processing … was complete” by

summer 2017, Defendants reason, Plaintiffs’ applications must have been denied and the exception

to consular nonreviewability does not apply. Mot. 33-34 (quoting Am. Compl. ¶¶ 38, 40). But see

supra at 6-7. This argument fails for three reasons.

        First, Defendants’ argument assumes that they were acting in accordance with the Manual,

but they were not. Indeed, Plaintiffs have always contended that Defendants’ policy violates the

regulation that the quoted section of the Manual implements, precisely because the policy



consular officers …. But when the suit challenges inaction, ‘as opposed to a decision taken within the
consul’s discretion,’ there is jurisdiction.” (quoting Patel, 134 F.3d at 931-32)); Najafi v. Pompeo, No. 19-
CV-05782-KAW, 2019 WL 6612222, at *5 (N.D. Cal. Dec. 5, 2019) (“Here, consular nonreviewability
does not apply because [p]laintiffs are not challenging the consular officer’s decision, but the lack thereof,
as well as the procedures by which PP 9645 is being implemented.”).

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suspended visa processing without making a final decision. See Am. Compl. ¶¶ 61-62. This Court

has recognized that mandamus is therefore warranted if Defendants’ policy prevents Plaintiffs’

visas from being “processed in accordance with the INA.” PI Op. 12 (citing 22 C.F.R. § 42.81(a)).

Defendants’ citation of the Manual only further proves that “the Government’s duty to decide

Plaintiffs’ applications is non-discretionary,” and that Defendants’ failure to do so is mandamus-

worthy. Nine Iraqi Allies, 168 F. Supp. 3d at 293 n.22, 296.

       Second, as this Court has noted in a different case, “administrative processing is not a final

adjudication but a mandatory intermediate step.” Afghan & Iraqi Allies Under Serious Threat

Because of Their Faithful Serv. to the United States v. Pompeo, No. 18-CV-01388 (TSC), 2019

WL 367841, at *10 (D.D.C. Jan. 30, 2019). Completion of processing does not automatically

convert to a denial. And as this Court already pointed out in its September 2017 decision, consular

officials sought further information from Plaintiffs even after declaring administrative processing

complete, showing “that Plaintiffs’ visa applications have not been finally refused.” PI Op. 17; see

supra at 6-7 (describing communications to Plaintiffs requesting additional information to

establish eligibility under an exception to EO-2).

       Third, Defendants’ argument proves too much. If the mere inclusion of a directive in the

Manual could dictate when a visa was deemed granted or denied, the State Department could insert

any number of provisions into the Manual that would deprive visa applicants of meaningful review.

For instance, the State Department might add a provision mandating that all visa applications are

deemed denied if not granted within five days of the initial application. Then, if visa applicants

challenged such a provision as violating the INA, Defendants could assert that consular

nonreviewability barred courts from reviewing those challenges because the plaintiffs’ visas had

already been denied under the very provisions being challenged. And because wholesale



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challenges to such a policy are also barred by consular nonreviewability under Defendants’ view,

but see infra Part II.B.2, visa applicants would have no means to remedy even the most arbitrary

restrictions on the visa process. Defendants provide no support for such a doctrinal extension.

       Because consular officers have still never rendered final decisions on Plaintiffs’ cases,

consular nonreviewability does not bar their claims.

               2.      Consular Nonreviewability Does Not Apply Because Plaintiffs
                       Challenge a General Administrative Policy, Not an Exercise of
                       Discretion.

       This Court also ruled that the consular nonreviewability doctrine has no application here

for a second, independent reason: “Plaintiffs challenge the State Department’s policy, not the

discretion of a specific consular officer in applying the policy.” PI Op. 17. That holding is correct

as well, and it too should be reaffirmed.

       The D.C. Circuit has addressed this very issue, and it drew precisely the same distinction

as this Court. Specifically, in International Union of Bricklayers & Allied Craftsmen v. Meese, 761

F.2d 798 (D.C. Cir. 1985) (“Bricklayers”), the court of appeals acknowledged Kleindienst v.

Mandel, 408 U.S. 753 (1972)—which Defendants term the “seminal” case supporting their view

(Mot. 30)—and explained that it “concerned challenges to a decision by a consular officer on a

particular visa application.” 761 F.2d at 801. In Bricklayers, by contrast, the plaintiffs “d[id] not

challenge a particular determination in a particular case of matters which Congress has left to

executive discretion,” but rather took issue with “internal agency guidelines” for processing visa

applications. Id. at 800-01. The Bricklayers court concluded that Mandel “ha[d] no application” to

that scenario. Id. at 801. “The federal courts have jurisdiction over this type of case,” the court

explained, “to assure that the executive departments abide by the legislatively mandated

procedures.” Id.; see also Legal Assistance for Vietnamese Asylum Seekers v. Department of State,

45 F.3d 469 (D.C. Cir. 1995) (resolving on the merits a nationality-discrimination challenge to a

                                                 37
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State Department policy of refusing to process visa applications), vacated on other grounds, 519

U.S. 1 (1996); Mulligan v. Schultz, 848 F.2d 655, 657 (5th Cir. 1988) (consular nonreviewability

does not apply where plaintiffs “are not challenging the discretion of consuls” in applying

regulations but rather “the authority of the Secretary of State” to issue them).

        Here, too, Plaintiffs challenge a State Department policy of general application, rather than

any case-specific judgments about their visa applications. In fact, Defendants do not even argue

that Plaintiffs’ challenge falls outside of Bricklayers’ ambit—because, notwithstanding this

Court’s prime reliance on that case (PI Op. 17), Defendants decline to mention it at all. They are

likewise silent about Patel v. Reno, 134 F.3d 929, which, as this Court recognized, is to the same

effect. See PI Op. 17. Defendants’ silence about this Court’s grounds for rejecting their position

all but concedes the correctness of the Court’s prior analysis.

        Rather than engaging with the controlling precedent on-point, Defendants offer context-

free quotations from district court cases involving fact-bound complaints about visa decisions. See

Mot. 32-33. A review of each of these cases will show that, in context, not one is inconsistent with

the distinction between policy-based claims and individualized disputes that this Court and the
                            16
D.C. Circuit have drawn. But even if their dicta could be read to suggest otherwise, Bricklayers

takes precedence as a binding D.C. Circuit decision.



16
  See Baan Rao Thai Rest. v. Pompeo, No. CV 19-0058 (ESH), 2019 WL 3413415, at *1 (D.D.C. July 29,
2019) (plaintiffs objected to denial of E-2 employment visa based on their not having met “all of the
requirements of an E-2 essential employee as specified in 9 FAM 402.9-7”); Malyutin v. Rice, 677 F. Supp.
2d 43, 44, 46-47 (D.D.C. 2009) (plaintiff objected to visa denial based on insufficient ties to his home
country); Van Ravenswaay v. Napolitano, 613 F. Supp. 2d 1, 3 (D.D.C. 2009) (plaintiff claimed charge of
drug trafficking was “based on completely wrong information”); Mansur v. Albright, 130 F. Supp. 2d 59,
60 (D.D.C. 2001) (plaintiff objected to discretionary visa revocation that was based on new “information”
received by State Department); Chun v. Powell, 223 F. Supp. 2d 204, 206 (D.D.C. 2002) (plaintiff objected
to denial of visitor visa based on insufficient proof of “strong ties to a residence abroad”); Garcia v. Baker,
765 F. Supp. 426, 427 (N.D. Ill. 1990) (plaintiff objected to visa denial based on finding of prior
immigration fraud).

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        Defendants also point to the Ninth Circuit’s recent decision in Allen v. Milas, 896 F.3d

1094, 1107 (9th Cir. 2018), which agreed with the D.C. Circuit’s determination in Saavedra Bruno

that an unsuccessful visa applicant could not use the APA to challenge the denial of his visa. But

Allen further supports the distinction between individual visa decisions and wholesale policies that

underlay the Bricklayers and Patel decisions. Just as Saavedra Bruno does not purport to

overrule—and in fact does not even mention—Bricklayers, Allen does not purport to overrule

Patel. Rather, Allen distinguishes Patel and other Ninth Circuit cases in which plaintiffs allege

“that ‘[t]he consular officer had no authority’ to conduct the act complained of.” Id. at 1108 & n.4

(quoting Wong v. Department of State, 789 F.2d 1380, 1386 (9th Cir. 1986)); see also Singh v.

Clinton, 618 F.3d 1085, 1088 (9th Cir. 2010) (citing Patel, stating that “the government ha[d]

correctly abandoned its [consular nonreviewability] argument” on appeal in a case where plaintiffs

“challenged the authority of the Department of State, rather than an exercise of its discretion”).

Indeed, many decisions issued since this Court’s last ruling—both in this district and within the

Ninth Circuit—continue to recognize the distinction between the review of an agency policy and
                                                17
individual consular officers’ visa decisions.




17
  See, e.g., Motaghedi, 2020 WL 489198, at *6 (“[T]o the extent Plaintiffs’ claims challenge large-scale
patterns of agency behavior, the doctrine of consular nonreviewability does not apply for this additional
reason.”); Najafi, 2019 WL 6612222, at *5; Jamal v. Pompeo, No. CV 19-6967 JVS (DFMX), 2019 WL
7865175, at *4 (C.D. Cal. Nov. 19, 2019) (“Plaintiffs are challenging systemic practices with respect to the
waiver program, not individualized determinations for any one of their specific applications. … [N]o review
of any individual consular officer decisions is required; what is at stake is ‘the authority of the consul to
take or fail to take an action as opposed to a decision taken within the consul’s discretion.’” (citation
omitted)); Emami v. Nielsen, 365 F. Supp. 3d 1009, 1018-19 (N.D. Cal. 2019) (“[P]laintiffs are challenging
systemic practices with respect to the waiver program, and not individualized determinations for any
specific person. … Those issues do not require review of an individual consular officer’s decision.”); Jane
Doe 1 v. Nielsen, 357 F. Supp. 3d 972, 996 n.13 (N.D. Cal. 2018) (“[T]he consular nonreviewability
doctrine cases are misplaced … Plaintiffs here do not seek review of individual adjudications made by DHS
but ask only for the Court to determine whether DHS complied with its legal obligations.”).

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        In sum, because consular officials have not rendered final decisions in Plaintiffs’ cases,

and because Plaintiffs challenge a general policy rather than an exercise of discretion, consular

nonreviewability does not apply.

        C.      Plaintiffs Have Causes of Action Under the APA and the Mandamus Act.

        In their final effort to avoid a merits finding against them, Defendants argue that, in order

to state a claim under the APA or the mandamus statute, Plaintiffs must “point to a plainly defined

duty of the State Department to readjudicate their visa applications by the end of the fiscal year.”

Mot. 34; see id. at 34-36 (Section III). But neither the APA nor the mandamus statute imposes the

requirement Defendants imagine, and Plaintiffs have a valid cause of action under each.

                1.       Plaintiffs Have an APA Cause of Action Under § 706(2).

        Defendants first argue that Plaintiffs’ APA claim must fail because, according to

Defendants, it does not “assert[] that an agency failed to take a discrete agency action that it is

required to take.” Norton v. S. Utah Wilderness All., 542 U.S. 55, 63-64 (2004) (“SUWA”); see

Mot. 34. This argument rests on a simple misunderstanding of Plaintiffs’ APA claim. Defendants’

argument assumes that Plaintiffs’ APA claim is under 5 U.S.C. § 706(1), concerning agency

inaction. That is wrong. Plaintiffs brought suit under 5 U.S.C. § 706(2), challenging agency action
                                                            18
(the promulgation of the State Department policy).               See Am. Compl. ¶ 54. As courts have

consistently recognized, “SUWA addresses only attempts to ‘compel agency action’ pursuant to

§ 706(1) and does not reach claims encompassed within § 706(2).” Alliance to Save Mattaponi v.

U.S. Army Corps of Eng’rs, 515 F. Supp. 2d 1, 10 (D.D.C. 2007) (citation omitted); see, e.g.,

Valentini v. Shinseki, 860 F. Supp. 2d 1079, 1097 (C.D. Cal. 2012) (“the holding in SUWA is



18
  Section 706(1) directs courts to “compel agency action unlawfully withheld or unreasonably delayed.”
Section 706(2) directs them to “hold unlawful and set aside agency action” that is defective in one or another
way—such as by being “arbitrary, capricious,” or “not in accordance with law.”

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inapplicable to challenges under § 706(2)(A)”); Friends of Animals v. Sparks, 200 F. Supp. 3d
                                                                                                      19
1114, 1124 (D. Mont. 2016) (“The analysis in SUWA does not apply to § 706(2)(A) claims.”).

        Defendants’ misunderstanding of Plaintiffs’ claim undermines their entire argument that

Plaintiffs have not met their burden. A challenger under § 706(1) “faces a different burden” than

a challenger under §706(2). Nat’l Ass’n of Home Builders v. U.S. Army Corps of Eng’rs, 417 F.3d

1272, 1280 (D.C. Cir. 2005). When a plaintiff seeks to “compel agency action unlawfully withheld

or unreasonably delayed” under § 706(1), she claims that the agency has unlawfully neglected to

take up a matter at all; courts therefore “determine if ‘the agency has a duty to act and [if] it has

‘unreasonably delayed’ in discharging that duty.’” Id. (citation omitted). A routine diversity-visa

applicant who objects to the State Department’s sluggish pace in processing applications could

conceivably bring such a claim under § 706(1), although that claim might face significant hurdles.

        Plaintiffs, however, did not bring such a claim. Instead, they alleged an affirmative policy

decision not to process their applications, and challenged that decision under § 706(2)(A) as

arbitrary, capricious, and otherwise unlawful. See Am. Compl. ¶¶ 53-59; see also PI Op. 6

(accurately characterizing Plaintiffs’ claim). Although claims of this kind challenge “inaction” in

one sense, they are cognizable under § 706(2) as long as the decision not to act is “final” within

the meaning of the APA. See, e.g., Hi-Tech Pharmacal Co. v. U.S. FDA, 587 F. Supp. 2d 1, 8-9

(D.D.C. 2008) (“[I]f a failure to act amounts to consummated agency action that APA views as

final, notwithstanding the fact that the agency ‘did’ nothing, a party can seek relief under Section

706(2).” (quotation marks and citations omitted)); Alliance to Save Mattaponi, 515 F. Supp. 2d at

10 (same); see also 5 U.S.C. § 551(13) (defining “agency action” to include “failure to act”).


19
  Defendants obscure this point through a highly misleading use of brackets. Compare SUWA, 542 U.S. at
64 (“a claim under § 706(1) can proceed only where” certain conditions are met), with Mot. 34 (quoting the
Supreme Court as stating that “a[n APA] claim … can proceed only where” those conditions are met).

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        Here, Plaintiffs plausibly and specifically alleged that Defendants’ policy decision is “final

agency action,” representing “the consummation of the State Department’s process on this matter.”

Am. Compl. ¶ 55. Defendants do not so much as mention finality, thereby forfeiting the

opportunity to contest it. In any event, their policy clearly is final within the meaning of the APA.

See, e.g., Hi-Tech Pharmacal, 587 F. Supp. 2d at 10 (“Judicial review of an agency’s failure to act

under Section 706(2) is authorized [as final], then, when administrative inaction has the same

impact on the rights of the parties as an express denial of relief” (quotation marks and citations
         20
omitted).

        Plaintiffs have thus brought a proper claim under § 706(2). And “[a] challenge to agency

action [under § 706(2)], by contrast [to one under § 706(1)], is simply resolved according to the

APA.” Nat’l Ass’n of Home Builders, 417 F.3d at 1280. In other words, the reviewing court

proceeds directly to the question whether the challenged policy is “arbitrary, capricious, an abuse

of discretion, or otherwise not in accordance with law.” 5 U.S.C. § 706(2)(A). For these reasons,

Defendants’ various arguments in Part III of their memorandum are irrelevant to the APA claim
                               21
that Plaintiffs actually pled.      The Court should order Defendants to set aside their policy and

process Plaintiffs’ applications under the INA’s standards. See North Carolina Fisheries Ass’n v.



20
   Despite overlapping jargon, there is no tension between the “finality” of Defendants’ policy under the
APA and this Court’s recognition that Plaintiffs’ applications have not been “finally refused” for purposes
of consular nonreviewability (PI Op. 16). The policy is “final” under the APA because Defendants will do
no more on the matter. But Defendants have not finally denied Plaintiffs’ visa applications. Instead, they
applied the illegally promulgated policy to suspend the processing of those applications until such time as
Plaintiffs could demonstrate a bona fide exception to the entry ban.
21
   Tellingly, the APA cases that Defendants cite addressed only § 706(1)—which, again, Plaintiffs have
never invoked. See Kaufman v. Mukasey, 524 F.3d 1334, 1338 (D.C. Cir. 2008); Orlov v. Howard, 523 F.
Supp. 2d 30, 37 (D.D.C. 2007); Beshir v. Holder, 10 F. Supp. 3d 165, 176–77 (D.D.C. 2014); Nine Iraqi
Allies, 168 F. Supp. 3d at 296; see also Wan Shih Hsieh v. Kiley, 569 F.2d 1179, 1180, 1182 (2d Cir. 1978)
(discussing APA without specifying section relied upon, and finding no jurisdiction because INA did not
require the relief sought); Zhang v. Chertoff, 491 F. Supp. 2d 590, 595 n.2 (W.D. Va. 2007) (declining to
“address Plaintiffs’ arguments regarding mandamus jurisdiction or the Administrative Procedures Act”).

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Gutierrez, 550 F.3d 16, 20 (D.C. Cir. 2008) (“[W]hen a court reviewing agency action determines

that an agency made an error of law … the case must be remanded to the agency for further action

consistent with the corrected legal standards.” (citation omitted)).

                2.      Plaintiffs Have Satisfied the Conditions for Mandamus Relief As Well.

        While Defendants invoke the wrong body of law under the APA, they correctly state that

Plaintiffs must identify a “clear right to relief” and “clear duty to act” to support the mandamus

claim in this case. PI Op. 12 (quoting Fornaro v. James, 416 F.3d 63, 69 (D.C. Cir. 2005)); see

Mot. 22, 34-36. But, as this Court has already recognized in applying those same standards,

Plaintiffs have done just that. First, “Plaintiffs have a right to have their visa applications processed

in accordance with the INA.” PI Op. 12; see id. (citing governing regulations). And second, “State

Department consular officers have a clear duty to do so.” Id. Thus, if the State Department’s policy

is at variance with the INA—as Plaintiffs contend—then “Plaintiffs’ right to have their

applications processed in accordance with the law will have been violated by the State

Department’s implementation of the Executive Order,” and mandamus will be appropriate. Id. at

13; see also Patel, 134 F.3d at 933 (ordering the United States Consulate in Bombay, India, to

process a pending diversity visa application under mandamus authority).

        Defendants do not acknowledge or engage this Court’s holdings with respect to the “clear

right” and “clear duty” prongs of the mandamus analysis. See generally Mot. 34-36. Instead, they

recast Plaintiffs’ mandamus claim as a demand that Defendants “readjudicate Plaintiffs’ visa

applications at the rate they would have preferred.” Id. at 35 (emphasis added). Defendants are

shadowboxing. Plaintiffs do not base their claim on the sluggishness of consular officials’ actions.

Indeed, such a claim would contradict the State Department cable itself, which directs officers to

decide eligibility first before moving on to the application of EO-2. It is therefore backwards to

say that Plaintiffs complain about the delay in processing. Defendants already did process

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Plaintiffs’ applications, as a predicate to applying EO-2. They determined that the Plaintiffs were

“otherwise eligible” before then applying the challenged policy to suspend further processing of

the visa applications. Dkt. 2-2 at 6.

        Plaintiffs are challenging that suspension. Cf. Patel, 134 F.3d at 932 (“The Patels are

challenging the consul’s authority to suspend their visa applications, not challenging a decision

within the discretion of the consul.”). Thus, Plaintiffs demand only that consular officials discharge

the clear duty this Court already identified: “process[] [Plaintiffs’ visa applications] in accordance

with the INA.” PI Op. 12. It follows that, if Plaintiffs are correct that Defendants’ refusal to process

their applications contravenes the INA, mandamus relief will be appropriate.

        Defendants’ “pacing” argument only illustrates the absurdity of Defendants’ own claims.

In effect, they assert the power to adopt a policy of intentionally delaying processing visa

applications as long as they like—even until the statutory deadline passes—and then blocking any

lawsuits against them by recasting lack of authority claims as unreasonable delay claims. But the

APA, the Mandamus Act, and this Court’s prior decisions all counsel the opposite: Plaintiffs have

a right to have their visa applications processed, and this Court has the equitable power to force

Defendants to do so.

                                          CONCLUSION

        For the foregoing reasons, Defendants’ motion to dismiss should be denied.




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June 19, 2020                                  Respectfully submitted,

                                               /s/ Matthew E. Price
Samer E. Khalaf                                Matthew E. Price (DC Bar # 996158)
Abed A. Ayoub                                  Noah B. Bokat-Lindell (DC Bar #156032)
Iman Boukadoum                                 JENNER & BLOCK LLP
AMERICAN-ARAB ANTI-DISCRIMINATION              1099 New York Ave. N.W., Suite 900
COMMITTEE                                      Washington, DC 20001
1705 DeSales St. N.W., Suite 500               (202) 639-6000
Washington, DC 20036                           Fax: 202-639-6066
(202) 244-2990                                 mprice@jenner.com
Skhalaf@adc.org                                nbokat-lindell@jenner.com

Max Wolson (DC Bar #229562)                    Omar C. Jadwat
NATIONAL IMMIGRATION LAW CENTER                AMERICAN CIVIL LIBERTIES UNION
P.O. Box 34573                                 FOUNDATION
Washington, DC 20043                           125 Broad St., 18th Floor
(202) 216-0261                                 New York, NY 10004
wolson@nilc.org                                (212) 549-2600
                                               Fax: (212) 549-2654
Arthur B. Spitzer (D.C. Bar # 235960)          ojadwat@aclu.org
AMERICAN CIVIL LIBERTIES UNION
OF THE DISTRICT OF COLUMBIA                    Cody H. Wofsy
915 15th St. N.W., 2nd Floor                   Spencer Amdur
Washington, DC 20005                           AMERICAN CIVIL LIBERTIES UNION
(202) 601-4266                                 FOUNDATION
aspitzer@acludc.org                            39 Drumm St.
                                               San Francisco, CA 94111
                                               (415) 343-0770
                                               Fax: (415) 395-0950
                                               cwofsy@aclu.org
                                               samdur@aclu.org

                                   Counsel for Plaintiffs




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                                CERTIFICATE OF SERVICE

       I certify that, on June 19, 2020, I caused the foregoing Plaintiffs’ Opposition to Motion to

Dismiss to be served on all counsel of record via CM/ECF.

                                     /s/ Matthew E. Price
                                        Matthew E. Price
